10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case: 1:13-cr-00844 Document #: 15-1 Filed: 05/11/20 Page 1 of 1 PagelID #:109

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES,

Plaintiff,

VS. Case No.: 13-cr-844

HOWARD LEVENTHAL,

JUDGE ANDREA R. WOOD
Defendant

 

 

 

ORDER TERMINATING PROBATION

Pursuant to 18 U.S.C. § 3583(e)(2)(1) the court orders as follows:

1. The court finds that Supervised Release in this matter commenced on June 10, 2019; and
that the interests of justice are served best by terminating supervised release as of the June 10,
2020 anniversary date, however;
2. The Defendant although strictly in compliance with restitution terms, in absolute terms
has made an insignificant contribution to restitution, therefore: No later than thirty days after
entry of this order, the Government and Defendant shall provide this court with an agreed order
for court endorsement establishing a contract under civil law, for the Defendant to continue
paying 10% of his income for 10 years following entry of this order;
3. Now therefore Defendant’s probation period is hereby terminated effective June 10, 2020
reversible only if the court finds that the Defendant fails to cooperate with the Government or
enter into an agreement reasonably in accordance with paragraph 2 above within 60 days of this
order.

SO ORDERED,

UNITED STATES DISTRICT COURT

 

Andrea R. Wood, Judge Date: 2020

JUDGE ANDREA R. WOOD - 10

 
